Case 1:23-cv-10966-RGS Document 36-3 Filed 06/19/23 Page 1 of 2




  EXHIBIT 
           Case 1:23-cv-10966-RGS Document 36-3 Filed 06/19/23 Page 2 of 2


From:                Kurian Shaw, Anna
To:                  DeFord, Amanda L.
Cc:                  Riva Monica; Tagariello Gian Paolo; gmarzano@legance.it; Wheatley, Lucy Jewett; Rosendahl, Matthew G.;
                     Aletto, Luigi; Bastian, Katherine M; Quinn, Brendan; HL DC TM Group; Mansani, Luigi; Piattelli, Maria Luce
Subject:             FW: U.S. Lawsuit Initiated by Reebok against Autry - Request for Acceptance of Service
Date:                Tuesday, May 16, 2023 11:49:59 AM




**EXTERNAL EMAIL; use caution with links and attachments**




Amanda,

We are responding to your communication of May 10, 2023, directed to the Legance law firm in
connection with the above-referenced matter. We represent both Autry International S.r.l. and
Autry USA, LLC in connection with Case No. 1:23-cv-10966-RGS filed by Reebok in the District of
Massachusetts and will be making our appearances in this case shortly. Please direct all future
correspondence regarding this matter to our attention.

Please be advised that both Legance and Hogan Lovells decline to accept service of process on
behalf of Autry International S.r.l. Please proceed to formally serve Autry International S.r.l through
the proper channels.

Finally, we understand that you have raised a potential conflict of interest issue with Hogan Lovells
US LLP’s representation of Autry International S.r.l and Autry USA, LLC in connection with the
present litigation. However, we have thoroughly reviewed and investigated this matter and have
concluded that no such conflict exists. However, should you have additional concerns, we invite you
to reach out to us directly to discuss.

Regards,
Anna

Anna Shaw
Partner

Hogan Lovells US LLP
Columbia Square
555 Thirteenth Street, NW
Washington, DC 20004

Tel:       +1 202 637 5600
Direct:    +1 202 637 5687

Email:     anna.shaw@hoganlovells.com
           www.hoganlovells.com
Please consider the environment before printing this e-mail.
